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                                  CERTIFICATE OF SERVICE
        I hereby certify that on this the 30th day of July, 2020, the foregoing DECLARATION
OF KRISTI COLE was filed using the Court’s CM/ECF filing system, which will provide
notice of the filing to all counsel of record as follows:

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